Case: 2:11-cr-00010-GCS-EPD Doc #: 194 Filed: 12/11/14 Page: 1 of 2 PAGEID #: 2764




                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE           Tel. (513) 564-7000
       Clerk                      CINCINNATI, OHIO 45202-3988         www.ca6.uscourts.gov




                                       Filed: December 11, 2014




Mr. John P. Hehman
Southern District of Ohio at Columbus
85 Marconi Boulevard
Suite 260 U.S. Courthouse
Columbus, OH 43215-0000

               Re: Case No. 13-3777, USA v. Sean Murphy
                   Originating Case No. : 2:11-cr-00010-1

Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                       Sincerely yours,

                                       s/Bryant L. Crutcher
                                       Case Manager
                                       Direct Dial No. 513-564-7013

cc: Peter A. Patterson
    Mr. Colter Lawrence Paulson
    Ms. Kimberly Langston Rogers Robinson

Enclosure
Case: 2:11-cr-00010-GCS-EPD Doc #: 194 Filed: 12/11/14 Page: 2 of 2 PAGEID #: 2765




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                       ________________

                                          No: 13-3777
                                       ________________

                                                          Filed: December 11, 2014

UNITED STATES OF AMERICA

                Plaintiff - Appellee

v.

SEAN D. MURPHY

                Defendant - Appellant



                                               MANDATE

     Pursuant to the court's disposition that was filed 11/19/2014 the mandate for this case hereby

issues today.



COSTS: None
